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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


METROPOLITAN TRANSPORTATION
AUTHORITY, et al.,
                Plaintiffs,

NEW YORK CITY DEPARTMENT OF                     CIVIL ACTION NO. 1:25-cv-01413-LJL
TRANSPORTATION, et al.,
                                                NOTICE OF MOTION FOR PARTIAL
                Intervenor-Plaintiffs,
                                                SUMMARY JUDGMENT
        v.

SEAN DUFFY, in his official capacity as
Secretary of the United States Department of
Transportation, et al.,
                Defendants.


TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:

       PLEASE TAKE NOTICE that Intervenor-Plaintiffs Riders Alliance and Sierra Club,

upon the accompanying memorandum of law and declarations in support of this motion, along

with the Administrative Record lodged by Defendants and the papers incorporated by reference

in the memorandum of law, will move this Court, before the Honorable Lewis J. Liman, United

States District Judge, at the Daniel Patrick Moynihan United States Courthouse for the Southern

District of New York, 500 Pearl Street, New York, New York 10007, at a date and time to be

determined by the Court, for an order pursuant to Rules 56 and 57 of the Federal Rules of Civil

Procedure, the Administrative Procedure Act, 5 U.S.C. § 706, and the Declaratory Judgment Act,

28 U.S.C. § 2201 et seq.:

       1.     Granting summary judgment to Intervenor-Plaintiffs on Counts II and IV of

              Intervenor-Plaintiffs’ First Amended Complaint, ECF 63;
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       2.      Vacating the February 19, 2025 letter from Defendant Duffy to Governor Hochul

               purporting to terminate the November 21, 2024 agreement between TBTA,

               NYCDOT, and the New York State Department of Transportation and Defendant

               Federal Highway Administration (the “VPPP Agreement”) and rescind federal

               approval for the Central Business District Tolling Program (the “February 19

               Letter”);

       3.      Issuing a declaratory judgment that: (a) Defendants lack the authority to

               unilaterally terminate the VPPP Agreement unless Defendants demonstrate,

               pursuant to applicable law, a failure to comply with the VPPP Agreement’s terms

               and conditions; (b) the February 19 Letter is null, void, and of no effect; and (c)

               any efforts to enforce the February 19 Letter are unlawful, and are null, void, and

               of no effect.

       PLEASE TAKE FURTHER NOTICE that per the parties’ schedule, “So-Ordered” by

the Court on June 6, 2025 (ECF No. 139), opposition to the motion, if any, is due no later than

July 18, 2025, unless otherwise agreed to by the parties or ordered by the Court.



DATED: June 27, 2025

                                                   s/Dror Ladin
                                                   Dror Ladin
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